Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 1 of 12 PageID #: 1185




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK




   SECURITIES AND EXCHANGE COMMISSION,

                                      Plaintiff,
                                                              C.A. No. 07-4370(NGG)
                            V.



  ZEV SALESMAN,MENACHEM EITAN,
  MARTIN E. WEISBERG,EDWARD G.
  NEWMAN,STEVEN A. NEWMAN,AND
   ANDREW BROWN,

                                      Defendants.




                 FINAL JUDGMENT AS TO DEFENDANT ZEV SALTSMAN

          The Securities and Exchange Commission having filed a Amended Complaint and

   Defendant Zev Saltsman having entered a general appearance; consented to the Court's

  jurisdiction over Defendant and the subject matter ofthis action; consented to entry ofthis Final

   Judgment without admitting or denying the allegations ofthe Amended Complaint(except as to

  jurisdiction and except as otherwise provided herein in paragraph VII); waived findings of fact

   and conclusions oflaw; and waived any right to appeal from this Final Judgment:


                                                   I.


          IT IS HEREBY ORDERED,ADJUDGED,AND DECREED that Defendant is

   permanently restrained and enjoined from violating, directly or indirectly, Section 10(b)ofthe

   Securities Exchange Act of 1934(the "Exchange Act")[15 U.S.C. § 78j(b)] and Rule lOb-5

   promulgated thereunder[17 C.F.R. § 240.10b-5], by using any means or instrumentality of
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 2 of 12 PageID #: 1186




   interstate commerce, or ofthe mails, or of any facility of any national securities exchange, in

   connection with the purchase or sale ofany security:

          (a)      to employ any device, scheme, or artifice to defraud;

          (b)      to make any untrue statement ofa material fact or to omit to state a material fact

                   necessary iu order to make the statements made,in the light ofthe circumstances

                   under which they were made, not misleading; or

          (c)      to engage in any act, practice, or course of business which operates or would

                   operate as a fraud or deceit upon any person,

          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED that, as provided in

   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice ofthis Final Judgment by personal service or otherwise: (a)Defendant's

   officers, agents, servants, employees, and attomeys; and(b) other persons in active concert or

   participation with Defendant or with anyone described in (a).


                                                    n.


          IT IS HEREBY FURTHER ORDERED,ADJUDGED,AND DECREED that Defendant

  is permanently restrained and enjoined from violating Section 17(a) ofthe Securities Act of 1933

  (the "Securities Act")[15 U.S.C. § 77q(a)] in the offer or sale ofany security by the use of any

   means or instruments of transportation or communication in interstate commerce or by use ofthe

   mails, directly or indirectly:

          (a)      to employ any device, scheme, or artifice to defraud;

          (b)      to obtain money or property by means of any xmtme statement of a material fact

                   or any omission of a material fact necessary in order to make the statements
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 3 of 12 PageID #: 1187




                  made,in light ofthe circumstances under which they were made,not misleading;

                  or



          (c)     to engage in any transaction, practice, or course of business which operates or

                  would operate as a fraud or deceit upon the purchaser.

          IT IS FURTHER ORDERED,ADJUDGED, AND DECREED that, as provided in

   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice ofthis Final Judgment by personal service or otherwise: (a)Defendant's

   officers, agents, servants, employees, and attorneys; and(b)other persons in active concert or

   participation with Defendant or with anyone described in (a).


                                                  III.


          IT IS HEREBY FURTHER ORDERED,ADJUDGED,AND DECREED that Defendant

   is permanently restrained and enjoined from violating Section 5 ofthe Securities Act[15 U.S.C.

   § 77e] by, directly or indirectly, in the absence of any apphcable exemption:

          (a)     Unless a registration statement is in effect as to a security, making use ofany

                  means or instruments oftransportation or communication in interstate commerce

                  or ofthe mails to sell such security through the use or medium of any prospectus

                 or otherwise;

         (b)     Unless a registration statement is in effect as to a security, canying or causing to

                 be carried through the mails or in interstate commerce, by any means or

                 instruments of transportation, any such security for the purpose of sale or for

                 delivery after sale; or

         (c)     Making use ofany means or instruments of transportation or communication in

                 interstate commerce or ofthe mails to offer to sell or offer to buy through the use
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 4 of 12 PageID #: 1188




                  or medium of any prospectus or otherwise any security, unless a registration

                  statement has been filed with the Commission as to such security, or while the

                  registration statement is the subject ofa refusal order or stop order or(prior to the

                  effective date ofthe registration statement) any public proceeding or examination

                  under Section 8 ofthe Securities Act[15 U.S.C. § 77h].

          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED that, as provided in

   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice ofthis Final Judgment by personal service or otherwise: (a)Defendant's

   officers, agents, servants, employees, and attorneys; and(b)other persons in active concert or

   participation with Defendant or with anyone described in (a).



                                                   IV.


          IT IS HEREBY FURTHER ORDERED,ADJUDGED,AND DECREED that Defendant

   is permanently restrained and enjoined from violating Section 13 of the Exchange Act of 1934

  ("Exchange Act")[15 U.S.C. § 78m]and Rule 13d-l and 13d-2 promulgated thereunder[17

   C.F.R. § 240.13d-l] by, after acquiring directly or indirectly the beneficial ownership of more

   than 5% of classes of equity securities registered pursuant to Section 12 ofthe Exchange Act[15

   U.S.C. § 781], failing to file with the Commission statements containing the information required

   by Schedule 13D and/or Schedule 13G [17 C.F.R. § 240.13d-101 or § 240.13d-102] within the

   time period prescribed.

          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED that, as provided in

   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

  receive actual notice ofthis Final Judgment by personal service or otherwise: (a)Defendant's
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 5 of 12 PageID #: 1189




   officers, agents, servants, employees, and attorneys; and(b)other persons in active concert or

   participation with Defendant or with anyone described in (a).



                                                   V.


          IT IS HEREBY FURTHER ORDERED,ADJUDGED,AND DECREED that Defendant

   is permanently restrained and enjoined from violating Section 16(a)ofthe Exchange Act[15

   U.S.C. § 78p(a)] and Rule 16a-3 [17 C.F.R. § 240-16a-3] promulgated thereunder by:

         (a)     being the beneficial owner of more than 10 percent of any class of any equity

          security which is registered pursuant to Section 12 ofthe Exchange Act or an officer or

          director ofthe issuer ofsuch security, and failing to file, at the time ofthe registration of

          such security on a national securities exchange or by the effective date of a registration

          statement filed pursuant to section 12(g) of the Exchange Act, or within ten days after

          becoming a beneficial owner, officer or director, a statement with the Commission(and if

          such security is registered on a national exchange, with the exchange) ofthe amount of

          all equity securities ofsuch issuer of which he is the beneficial owner; or if there has

          been a change in such ownership or ifsuch person shall have purchased or sold a

          security-based swap agreement(as defined in section 206B ofthe Gramm-Leach-Liley

          Act)involving such equity security during such month, and failing to file with the

          Commission (and if such security is registered on a national exchange, with the

          exchange), before the end ofthe second business day following the day on which the

          subject transaction was executed, a statement indicating his ownership at the date of

          filing and such changes in his ownership and such purchases and sales ofsuch security-

          based swap agreement since the most recent filing under Section 16(a)(2)(C).
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 6 of 12 PageID #: 1190




           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED that, as provided in

   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice of this Final Judgment by personal service or otherwise: (a)Defendant's

   officers, agents, servants, employees, and attorneys; and(b)other persons in active concert or

   participation with Defendant or with anyone described in (a).


                                                  VL


           IT IS HEREBY FURTHER ORDERED,ADJUDGED,AND DECREED that Defendant

   is liable for disgorgement of$5,000,000, representing ill-gotten gains resulting from the conduct

   alleged in the Amended Complaint. This disgorgement shall be deemed satisfied by the criminal

   restitution paid by Defendant in U.S. v. Saltsman, etah,07-CR-641 (E.D.N.Y.)



                                                 VllL


           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED that this Court shall retain

  jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


                                                  IX.


           There being no just reason for delay, pmrsuant to Rule 54(b)ofthe Federal Rules of Civil

  Procedxire, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


  Dated:
            d
            aKjLAdL^   ^    ^ 2.^/^
                                                 s/Nicholas G. Garaufis

                                               UNIJED STATES DISTRICT                GE
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 7 of 12 PageID #: 1191




                                                                                               3/19          nflojo
     AUTHENTICATION OF SIGNATURE                                                                      1'UD vmv


 I the undersigned Danziger YossefNotary at 2^
 Hanotyim St' Kareny Shomron, hereby certify
 that on 19.3.19 there appeared before me at my
 office Mr Zev Norman Saltsman., whose
 identity was proved to me by his Pasport NO
 506132561 . and signed of his hir own free                            19.3.19 dv2        ivyNQ fnoivi
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 document marked A)(the documeht Overleaf).
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      in witness whereof 1 hereby authenticate
 the signature of Mr Zev Norman Saltsman by                navp\y) A nwa piDnn*) <yTi:ir)n) b^vbw
 my own signature and seal this 19.3J 9
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 {Signature)



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* Where more than one person appeared, each should be
named separately, specifying the manner in which his or
her Identity was proved.
Note: Delete whatever is inapplicable.                                                  n.\y 267.00 tPIDIl *1D\9



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Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 8 of 12 PageID #: 1192




                                   UNITED STATES DISTRICT COURT




   SECURITIES AND EXCHANGE COMMISSION,

                                        Plaintiff,
                                                                 G.A.NO.07-4370 O^GG)
                              V.



   ZEV SALTSMAN,MENACHEM EITAN,
   MARTIN E. WEISBERG,EDWARD G.
   NEWMi^S^"^ A.NEWMAN,AND
   ANDREWBROWN,

                                        Defendants.



                          CONSENT OF DEFENDANT ZEV SALTSMAN

           1.     Defendant Zev Saltsman ^Defendant")acknowledges having been served with

   the Coniplaint in this actiori, enters a general appearance, and admits the Court'sjurisdiction
   over Defend^t and over the subject matter ofthis action.

          2.      Defendant hereby consents to the entry ofthe Final Judgment in the form attached
   hereto (the 'Tinaj Judgment")and incorporated by reference herein, which, among other things:
                 (a)      permanently restrains and enjoins Defendant from violation ofSection

                          10(b)ofthe Securities Exchange Act of 1934(the "Exchange Act")[15

                         U.S.C.§ 78j(b)] and Rule lOb-5 promulgated thereunder[17 C.E.R

                         § 240.10b-5], Section 17(a)ofthe Securities Act of 1933(the "Securities

                         Act")[15 U.S.C. § 77q(a)], Section 5 ofthe Securities Act[15 U.S.C. §

                         77e], Section 13 ofthe Exchange Act[15 U.S.C.§ 78m]and Rule 13d-l .

                         and l3d-2 promulgated thereunder[17 G.F.R. § 240.13d-l],and Section
                         16(a)ofthe Exchange Act[15 U.S.C.§ 78p(a)] and Rule i6a-3[17 C.FJl,
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 9 of 12 PageID #: 1193




                          § 240.16a-3] promulgated thereunder;

                          (b)     Orders Defendant to pay disgorgement in the amount of

   $5,000,000,\^eh amount shall be deemed satisfied by the criminal restitution paid by
   Defendant in US v. Saltsman et al,07-GR-641 (E,D,N.Y,).

           3.     Defendant waives the entry offindings offact and conclusions oflaw piirsuant to

   Rule 52 ofthe Federal Rules of Civil Procedure.

          4.      Defendant waives the right, ifany,to ajury trial and to appeal fiom the entry of

   the Final Judgment.

          5.      Defendant enters into this Consent voluntarily and represents that no threats,

   offers, promises,or inducements of any kind have been made by the Commission or any
   inembef, officer, employee, agent, or representative ofthe Commission to induce Defendant to

   enter into this Consent.

          6.      Defendant agrees that this Consent shall be incorporated into the Final Judgment

   with the same force and effect as iffully set forth therein.

          7.      Defendant will not oppose the enforcement ofthe Final Judgment on the ground,
   ifany exists, that it fails to comply with Rule 65(d)ofthe Federal Rules of Civil Procedure, and

   hereby waives any objection based thereon.

          8.      Defendant wves service ofthe Final Judgment and agrees that entry ofthe Final

   Judgment by the Court and filing with the Clerk ofthe Court wiU constitute notice to Defendant
   ofits terms and conditions. Defendant further agrees to provide counsel for the Commission,

   within thii^ days ^er the Final Judgment is filed with the Clerk ofthe Court, with an affidavit
   or declaration stating that Defendant has received and read a copy ofthe Final Judgment.
          9.     .Consistent with 17 C.F.R. 202.5(f), this Consent resolves only the claims asserted
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 10 of 12 PageID #: 1194




    against Defendant in tiiis civil proceedii^. Defendant acknowledges that no promise or

    representation has been made by the Commission or any member,ofScer, employee,agent, or

    representative ofthe Commission with regard to any criminal liability that may haye arisen or
    may arise from the facts underlying this action or immunity from any such criminal liability.

    Defendant waives any claim ofDouble Jeopardy based upon the settlement ofthis proceeding,

    including the imposition ofany remedy or civil penalty herein. Defendant further acknowledges

    that the Court's entry ofa peimatieht irijuhction may have collateral consequences under federal

    or state law and the rules and regulations ofself-regulatory organizations, licensing boards,and

    other regulatory organizations. Such coUatefal consequences include, but are not limited to, a

    statutory disqualification with respect to membership or participation in, or association with a

    member of, a self-regulatory organizatipni This statutory disqualification has consequences that

    are separate fr-ora any sanction imposed in an administrative proceeding. In addition,in any

    disciplinary proceeding before the Commission based on the entry ofthe injunction in this

    action. Defendant understands that he shall not be permitted to contest the factual.allegations of

   tiie Complaint and Amended Complaint in this action.
           10.     Defendant understands and agrees to comply with the terms of 17 C.F,R.

   § 2p2.5(e), which provides in part that it is the Commission's policy "not to permit a defendant
   or respondent to consent to ajudgment or order that imposes a sanction while denying the

   allegations in the complaint or order for proceedings," and "a refusal to admit the allegations is

   equivalent to a. denial, unless the defendant or respondent states that he neither admits nor denies

   the allegations," As part ofDefendant's agreement to comply vWth the terms ofSection 202,5(e),
   Defendant;(i) will nottake any action or make or permit to be nmde any public statement

   denying, directly or indirectly, any allegation in the Complaint md Amended Complaint or
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 11 of 12 PageID #: 1195




    creating the impression that the Complaint and Amended Complaint are without factual basis;

   (ii) will not make or permit to be made any public statement to the effect that Defendant does not

    admit the allegations ofthe Complaint and Amended Complaint,or that this Consent contains no

    admission ofthe allegations, without also stating that Defendant does not deny the allegations;

   (iii) upon the filing ofthis Consent,Defend^t hereby withdraws any papers filed in this action

    to the extent that they deny any allegatiGn in the Complaint or Amended Complaint; and (iv)

    stipulates solely for puiposes ofexceptions to discharge set forth in Section 523 ofthe

    Bankruptcy Code, 11 U^S.C,§523,that the allegations in the Complaint and Amended

    complaint are true, and further, that any debt for disgorgement, prejudgment interest, civil

    penalty or other amounts due by Defendant under the Final Judgment or any otherjudgment,

    order^ consent order,decree or settlement agreement entered in Connection with this proceeding,

   is a debt for the violation by Defendmit ofthe federal securities laws or any regulation or order

   issued under such laws, as set forth in Section 523(a)(i9) ofthe Bankruptcy Code, 11 U.S.C.

   §523(a)(l9). If Defendant breaohes this agreement,the Commission may petition the Court to

   vacate the Final Judgment and restore this action to its active docket. Nothing m this par^aph

   affects Defendant's:(1)testimomd obligations; or (ii)right to take legal or factualpositions in

   litigation or other legal proceedings in which the Commission is not a party.

           11.    Defendant hereby waives any rights under the Equal Access to Justice Act^ the
   Small Business Regulatory Enforcement Faimess Act of 1996,or any other provision oflaw to

   seek from the United States, or any s^ehcy,or any ofSciail ofthe United States acting in his or
   her official capacity, directly or indirectly, reimbursement of attomey's fees or ofiier fees,

   expenses,or costs expended by pefendant to defend against this action. For these piirposes,

   Defendant agrees that Defendant is not the prevailing party in this action since the parties have
                                                  I
Case 1:07-cv-04370-NGG-RML Document 146 Filed 06/05/19 Page 12 of 12 PageID #: 1196




 read^a good Mth settlement

        12.                                                                                    the

 C(R&t&si^iature and entry vdthout fiuiher notice.

        13.       Defendant agrees that this Court shall retain jurisdiction over this matter for the

 purpose ofenforcing the terms ofthe Filial Judgment



 Dated: lb
                                                 Zev Saltsman

        On    I                  2019,Zev Saltsm^ a lJ.^s©n iknowti to me,personally appear^
 before me and acknowledged executing the forego^                .




 Approved as to form:



 Benjamin Brahnan
 Braitoan & Associates,P.O.
 767 Third Avenue26th Floor
 New York, NY 10017-9002
 Attorneys for Defendant Zev Saltsman
